848 F.2d 1245
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Murray BRENNER, Petitioner,v.DEPARTMENT OF the NAVY, Respondent.
    No. 88-3097.
    United States Court of Appeals, Federal Circuit.
    May 11, 1988.
    
      Before FRIEDMAN, ARCHER and MICHEL, Circuit Judges.
      PER CURIAM.
    
    
      1
      The decision of the Merit Systems Protection Board (Board) in docket No. BN04328710143, affirming the Navy's removal of the petitioner for unacceptable performance, is affirmed on the basis of the opinion of the administrative judge of the Board.
    
    